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                                                                                                                      121    United        States 393            3915
                           United      States        Court of Claims

                                           John      BOYLE                                                            393      United       Slates

                                                                                                                             3931    Government                 in General

                                  The UNITED                STATES                                                                  393k39          Compensation                    of           Officers            Agents
                                                                                                                      and     Employees

                                           No 30060                                                                                      393k39                       Pensions               and       retirement              al
                                           Nov   1962                                                                 lowances             Most Cited Cases
                                                                                                                               Neither          under      1930       nor      1956              Civil    Service             Re
            Action          for      refund         of    deductions                made         by     de            tirement            Act      was     it     intended              to        include           attorney

    fendant            from       plaintiffs         compensation                   for    legal        ser           fees     paid        on      per diem           basis             limited           in    time          and

    vices         rendered           under          series          of     contract            with     the           amount             under     governmental                restrictions                    to    one       re
    General             Services           Administration                       The        Court          of          tained         on         attorney-client                basis              by      government
   Claims               Durfee        Judge          held       that          neither      1930         nor           agency             within      araounts             subject           to    civil     service            re
    1956      Civil        Service         Retirement                Act       was      intended          to          tirement           pay      deductions              Civil        Service           Act        of    1930
    include            attorney       fees         paid    on       per diem              basis        lim                  2b      as    amended          and             13b as amended                           in    1956
    ited    in     time and          amount under                   governmental                 restric                    U.S.C.A              715b      and             2263b
   lions          to     one       retained         on      attorney-client                    basis     by

   government               agency            within        amounts             subject          to    civil          131    United         States       393     39l                   1.1
    service        retirement          pay deductions
                                                                                                                      393      United       States

            Judgment              for the     plaintiff                                                                      3931    Govamnient                 in General

                                                                                                                                    393k39          Compensation                    of           Officers            Agents
                                       West         Headnates                                                         and     Employees
                                                                                                                                         393k391                Recovery            of Compensation

     11    United         States 393              36                                                                                            393k39ll.l                        In    general             Most         Cited

                                                                                                                      Cases

    393     United         States                                                                                            Formerly 393k39l
          3931     Government                 in    General                                                                    Statute          precluded            award             of        interest           on    sums
                  393k36                                                                                and           wrongfully            withheld            by    government                    from
                                       Appointment                    or      employment                                                                                                                        plaintiffs

                  of                                     and                              in                                                        for                     services              rendered               under
    tenure               agents        clerks                   employees                       general               compensation                         legal

    Most Cited Cases                                                                                                  series         of      contracts               as      independent                       contractor

            Statutes             vested                                                    with         au            where         contract         did   not        provide               for    payment               of    in
                                              government                      agency
                   to    secure                                or     intermittent              services              terest        Defense          Production              Act        of     1950                 710        50
    thority                            temporary
    of                      by     contract          or    appointment                 and       author               LJ.S.C.A.Appendix                           2160            28         U.S.C.A                     2516
           attorney

    ized     it    to    enter      into      independent                contractor            relation               Court of Claims Rules                       rule      38c 28 ILS.C.A
    ship      with        attorney           as     distinguished                 from          employ
    ment       status          Civil       Service         Act           of    1930              2b       as          399       Jess      Larson          Washington                D.C for plaintiff
    amended                U.S.CA                       15b Federal Property                            and

    Administrative                  ServicesAct of 1949   208b as                                                     Kendall                   Barnes          Washington                   D.C          with           whom
    amended                U.S.CA          630hb Defense Production                                                   was      Joseph                Guilfoyle              Acting               Asst       Atty         Gen
    Act      of         1950           710c 50 US.CA.Appendix                                                         for defendant


   2160r                  U.S.C.A                 55a


                                                                                                                      DURPEE               Judge




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                                                                                                                 late         review        of        constitutionality                        of        independent

                    Supreme Court of the United                                  States                          counsel         statute         in    action             finding      defendants                in   con
         Alexia    MORRISON                   Independent                  Counsel         Appel                 tempt          for     failure       to        comply           with        grand         jury       sub
                                                 hint                                                            poena          where       prosecutor                    failed     to     object         to    district

                                                                                                                 courts         consideration                   of    merits         of     defendants                con
          Theodore                OLSON             Edward                  Schmults           and               stitutional          claims

                                    Carol            Dinkins

                                                                                                                 l2 UnIted              States        393       35
                                         No 87 1279
                                Argued        April       26 1988                                                393     United         States

                                Derided        June       29 1988                                                       3931     Government                 in   General

                                                                                                                               393k35                  Appointment                        qualification                and

            Three     former            government                  officials       brought          suit        tenure of         officers           Most        Cited Cases

   challenging             authority           of        independent                counsel           ap                  Independent             counsel             appointed              pursuant            to   Eth

   pointed         under        provisions           of    Ethics          and      Government                   cs      in    Government Act                        was        inferior             officer          such
   Art      to    issue     subpoenas               compelling               their        testimony              that    counsels           appointment                    by      Special          Division          does
   before         grand     jury        The United                  States        District       Court           not     violate         appointments                     clause       of      Federal           Consti
    for    the    District        of     Columbia               665        F.Supp          56        Au          tution         in that     counsel              was removable                      by    higher       Ex
   brey            Robinson              ir Chief Judge                          found     officials             ecutive         Branch          official            was         empowered                to    perform
    in    contempt          for      fading         to     answer            subpoenas               and         only         certain        limited             duties            and         counsels           office

   they     appealed            The Court of Appeals                             838      F.2d       476         was          limited       in
                                                                                                                                                  jurisdiction                   and       tenure              U.S.C.A
    Silberman             Circuit        Judge reversed                      and       appeal        was         Const Art                            cI

   taken         The Supreme               Court          Chief         Justice        Rehnquist
   held      that                 Act      did       not        violate           appaintments                   l3 Constitutional                     Law           92    2564
   clause                 Act     did     not       violate          Article        III        and

   Act     did not violate              separation             of                  doctrine                      92     Constitutional                Law
                                                                    powers
                                                                                                                        92XX          Separation           of Powers
            Reversed                                                                                                          92XXC Judicial                         Powers         and     Functions

                                                                                                                                  92XXC3                   Encroachment                   on    Executive
            Justice       Scalia        dissented         and        filed       opinion                                                  92k256l                Powers            Duties           and        Acts    Un
                                                                                                                 der Legislative             Authority
            Justice                           took        no                                                                                 92k2564                                                             of stat
                           Kennedy                                  part    in    consideration                                                                            Judicial          exercise

   or decision        of case                                                                                                  authority         as     encroaching                  on      executive                Most
                                                                                                                 utory
                                                                                                                 Cited Cases

                                       West     l4eadnotes                                                             Formerly 92k74


    II    Contempt           93     663                                                                          United         States      393       35
   93     Contempt                                                                                               393     United         States

          9311    Power      to     Punish       and       Proceedings                 Therefor                        3931      Government                 in   General

             93k66         Appeal         or Error                                                                             393k35                  Appointment                        qualification                and

                    93k663                    Presentation                  and        reservation               tCnure        of officers            Most        Cited Cases

   of grounds         of review            Most          Cited Cases                                                     Appointment                       of        independent                    counsel             an

            Independent             counsel         waived            objection           to    appe1            inferior              officer        by        Special          Division            does        not   vi
                                                                                                                 olate        appointments                 clause           of     Federal           Constitution




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